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 3
 4                  UNSEALED PER ORDER OF COURT
 5
 6                           UNITED STATES DISTRICT COURT
 7                        SOUTHERN DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                    Magistrate Case No.

10          Plaintiff,                            COMPLAINT FOR VIOLATION OF

11                                                Title 18, U.S.C. § 2552(a)(2)-Attempted
               v.
12                                                Receipt of Images of Minors Engaged in
     Tay Christopher COOPER,                      Sexually Explicit Conduct;
13
14          Defendant.
15
16
17         The undersigned Complainant, being duly sworn, states:
18         On or about February 9, 2016, within the Southern District of California,
19 defendant Tay Christopher COOPER, did knowingly attempt to receive visual
20 depictions, that is, digital and computer images, using a means and facility of interstate
21   and foreign commerce, the production of which involved the use of a minor engaging
22 in sexually explicit conduct, as defined in Title 18, United States Code, Section 2256(2),
23 and which visual depictions were of such conduct; in violation of Title 18, United States
24 Code, Section 2252(a)(2).
25 II
26 II
27 II



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28 II
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 1         And the complainant states that this complaint is based on the attached Statement
 2 of Facts incorporated herein by reference.
 3
 4
 5                                           1        er-::.W¥· an, Special Agent
                                           Homeland Security Investigations
 6

 7 Sworn to me and subscribed in my presence this :ZO day     o~O 18.
                                          ~-/
 8
 9
10
                                           UNITED STATES MAGISTRATE JUDGE
11
12                                STATEMENT OF FACTS
13         I am a Special Agent (SA) with U. S. Immigration and Customs Enforcement,
14 Homeland Security Investigations (HSI), assigned to the San Diego, CA area of
15 responsibility since October 2010. Currently, I am assigned to the HSI Oceanside Resident
16 Agent in Charge Office and am a full time member of the Internet Crimes Against
17 Children (ICAC) Task Force in San Diego, CA. This complaint is based on my own
18 investigation as well as information received from fellow HSI agents and other law
19 enforcement officers.
20       From March 2014 through June 2016, HSI Oceanside identified that the physical
21 address associated with various internet protocol (IP) addresses and globally unique
22 identifiers (GUIDs) possessed and made available for sharing numerous suspected child
23 pornography files on the Gnutella peer-to-peer (P2P) file sharing network. HSI Oceanside
2 4 identified the internet service provider for those various IPs as Time Warner Cable.
25         In May 2014, July 2015, and September 2016, Department of Homeland Security
26 (DHS) Summons were sent to Time Warner Cable regarding the target IP addresses,
2 7 requesting subscriber and account information for specific dates and times when the IPs

28 had suspected child pornography files available for sharing on the Gnutella network. Time
                                                 2
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 1 Warner Cable responded that the subscriber on record was the same for each of the
 2 instances. Time Warner Cable listed that subscriber as having the last name Cooper, at a
 3 residence address in Carlsbad, California, within the Southern District of California.
 4 Agents performed law enforcement and open internet source checks and determined Tay
 5 Christopher COOPER (COOPER) and his wife lived at the residence address in Carlsbad,
 6 California, associated with the target IP addresses.
 7         On December 14, 2016, HSI Special Agents executed a federal search warrant at
 8 COOPER' s residence in Carlsbad, California. During execution of the warrant, agents
 9 encountered COOPER, who lived at the residence along with his wife. Agents seized
1O multiple computers, hard drives, computer media, and other digital devices at the
11 SUBJECT PREMISES.
12         Following execution of the warrant, HSI Computer Forensic Analysts (CFAs)
13 analyzed all of the devices seized from the SUBJECT PREMISES. The following devices
14 were positive for suspected child pornography:
15      • Acer Aspire T Desktop Computer (AT-600-UR22), Serial Number: 1A327UT1 l-
16         600-WT35BOO 117280A (SYSO 1)
17      • iomega I.OTB external USB hard drive, Part Number:              31888100, Model:
18         GDHDU2, Serial Number: XRA0510C16 (PMDOl)
19 The HSI CFA provided me a copy of the forensic analysis on a forensic output DVD on
20 October 25, 2017. The analysis contained the suspected child pornography image and
21 video files, along with a suspect file listing.     I reviewed the forensic analysis and
22 determined that the digital items listed above contained files depicting child pornography.
23         Specifically, the HSI CFA reviewed the allocated files located on SYSOl and
24 identified approximately 222 suspect files (one video file and 221 image files) indicative
25 of child pornography, all in the password-protected user account, "Tay." An additional
26 11,408 image and video files of suspected child pornography were discovered in
27 unallocated space on SYSOl. Below are descriptions of two video files from SYSOl
28 determined by me to depict child pornography:
                                                3
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 1         • File Name: Ed2k_f7eb7477ee9cef7afD8e323f6b210e67.partial
                o This video file depicts a prepubescent female child wearing only a t-shirt
 2
                   and positioned on her knees with her exposed vagina, and anus to the
 3                 camera. The female child spreads her buttocks apart manipulating her anus
                   and vagina. An adult male hand is also shown touching the female child's
 4
                   anus and pulling apart her buttocks. This file was created and accessed on
 5                 the computer on February 9, 2016.
           • File Hash ID: OBOC58DDD44FAAC599CE3A64A90455BllB8C3353
 6
                o This video file depicts a white adult male having vaginal intercourse with
 7                 a nude female toddler. The adult male has the female toddler's legs pinned
                   up over her head and is seated over her face. The adult male is shown
 8
                   inserting his erect penis into the toddler's vagina. The audio associated
 9                 with this video file is that of a baby crying. At approximately 5 seconds,
                   "Whoooo! Popped her cherry this time. Now I can fuck her little cunt real
10
                   hard" is shown in text on the screen.
11
              The HSI CF A also discovered email accounts with the names of Tay Cooper and
12
     Mary Cooper on SYSOl. The HSI CFA found Internet searches previously done with the
13
     terms "Tay Cooper" and the Subject Premises. The Chrome and Firefox web browsers
14
     contained saved form data including Cooper's name, address, and email address.
15
     According to the HSI CF A, webcache files, jump list files, link files, and recycle bin data
16
     all contained history of files downloaded to the Users\Tay\Downloads folder containing
17
     titles consistent with child pornographic material. A few examples of those titles are listed
18
     below:
19
20           • Best-holland-17yo 1-teens-porno.avi

21           •Underage girls enjoying themselves.avi

22           • C:\Users\Tay\Downloads\Pedo - lOYo Willing Daughter Pthc2 New

23     • C:\Users\Tay\Downloads\pthc pedo rare deepthroat 5yo wow no gaging.mpg
24 The P2P file sharing program Shareaza was installed on SYSO 1 in the "Tay" user account,
25 with the last installed/updated date of 11/7/2016. A history of more than 200 P2P search

26   1
         The abbreviation "yo" is known to stand for "years old."
27   2
         The acronym "pthc" is known to stand for "pre-teen hard core," referring to a type of child
28 pornography.
                                                        4
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 I terms was found in the Shareaza software folder on SYSOI in the "Tay" user account to
 2 include terminology associated with child pornographic material. A few examples of
 3 those search terms used were; 7yo, 8yo, 9yo, 16yo, 1Oyo anal, young first fist, asian pedo
 4 2016, 2016 pthc, daughter, dog fuck, and pedo.
 5         The HSI CF A also identified one suspect image indicative of child pornography on
 6 PMDOI, along with 5,979 images of child erotica. The hard drive appeared to be used for
 7 file storage and backup purposes. I reviewed the one suspect image and found it is child
 8 pornography, described as follows:
 9      • File Name: natashal2 - lolitas young 12yr old virgins little child preteens
          underaged pussy ls-models bd-company.jpg
10
             o This image file depicts a prepubescent female child, naked, and lying on
11              her left side with her legs spread apart so that her vagina and anus are
                exposed to the camera. The female child is smiling at the camera. A logo
12
                that reads "ED-Company BD-Team" is located to the bottom right of the
13              image.
14
     Based upon my training and experience and the foregoing facts, there is probable cause
15
     to believe Cooper has attempted to receive images of child pornography through use of
16
     P2P software and the Internet.
17
                                   REQUEST FOR SEALING
18
           It is further respectfully requested that this Court issue an Order sealing, until
19
     further order of this Court, all papers submitted in support of this complaint, including the
20
     statement of facts and arrest warrant. Sealing is necessary because premature disclosure
21
     of the contents of this statement of facts and related documents may cause the defendant
22
     to flee and may cause destruction of evidence and may have a negative impact on this
23
     continuing investigation.
24
25
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28
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